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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



    JAY GLENN,                                        Case No. 16-cv-02498 (RCL)

                                                      Judge Royce C. Lamberth

                          Plaintiff,

           - against -                                CORRECTED1 DECLARATION
                                                      OF STEVEN G. STORCH
    THOMAS FORTUNE FAY,
    FAY LAW GROUP, P.A.,
    STEVEN R. PERLES, and
    PERLES LAW FIRM, P.C.,

                          Defendants.



STEVEN G. STORCH declares and states as follows pursuant to 28 U.S.C. § 1746:

     1.        I am an Officer of Storch Amini PC, counsel for Plaintiff Jay Glenn (“Glenn”)

herein. I make this declaration in support of Glenn’s motion for an order of sequestration or

injunction securing disputed funds pending the Court’s adjudication of Glenn’s claims. I have

personal knowledge of the facts and circumstances set forth herein.

     2.        I hereby certify, pursuant to LCvR 7(m), that before filing this motion I have

conferred with Defendants’ counsel in a good-faith effort to determine whether there is any

opposition to the relief sought and to narrow the issues of disagreement. As described below,

Defendants will oppose this motion.




1
 In the declaration I made, and which was filed on April 2, 2018 (Docket No. 35-2), I inadvertently
misidentified Steven R. Perles as Mr. Altemus’ client in Paragraph 8. This Corrected Declaration
changes that error and nothing else.
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     3.         Following the issuance and filing of the Judgment and Memorandum Decision of

the United States Court of Appeals for the District of Columbia Circuit on February 16, 2018, in

Glenn’s appeal from the decision of this Court quashing his asserted charging lien filed in Peterson

v. Islamic Republic of Iran, 1:01-cv-02094-RCL (D.D.C.) (the “Peterson Action”) (a true and

correct copy of the Circuit Court’s decision is annexed hereto as Exhibit A), I made inquiry of

Defendants’ counsel to confirm that they were complying with D.C. Rule of Professional

Responsibility 1.15(d), by sequestering that portion of the attorneys’ fees they were receiving in

the Peterson Action, as the Circuit Court noted that counsel had represented they were doing

during argument of the appeal (see Exhibit A at p. 6). Based on the representation of the Qualified

Settlement Fund Trustee that approximately 50% of attorneys’ fees have already been distributed,

Messrs. Fay and Perles have already each received approximately $60-70 million.

     4.         At the same time, I asked whether Defendants were disputing whether they owed

Glenn anything from the fees they were receiving in the Peterson Action because I understand

that, more than 10 years ago, Glenn had documented to Defendants the $15,289 he spent out-of-

pocket as a damages attorney, and presumed that the Defendants were not contesting their

obligation to pay at least that. And I expressed my concern that they were holding hostage the

amounts that they could not dispute owing him as a negotiating tactic.

     5.         The responses I received were entirely unsatisfactory—Defendants would not

confirm that they were holding any sums in escrow or explain why Glenn has not been paid

anything.

     6.         In further discussions with counsel for the parties, we have agreed to attempt to

mediate this dispute before a Magistrate Judge, and a request for such appointment has been, or

imminently will be, made to the Court. Inasmuch as Judge Forrest, in the New York Turnover



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Proceeding,2 has not yet directed the QSF Trustee to distribute the remaining attorneys’ fees, and

with mediation (hopefully) imminent, it appeared that it might be unnecessary to impose on this

Court to use its “considerable equitable powers” that the D.C. Circuit intimated were available to

secure Glenn’s claim pending trial (see Ex. A at p. 7), notwithstanding counsel’s initial refusal to

confirm that they had escrowed the disputed funds as they had represented to the Circuit.

        7.       On March 16, 2018, I sent a letter to Defendants’ counsel seeking their consent to

move for a status conference before this Court in order to seek the Court’s guidance as to how best

to proceed in light of both the Circuit Court of Appeals’ decision and the motions pending before

Judge Forrest in the Southern District of New York. A true and correct copy of that letter is

annexed hereto as Exhibit B.

        8.       Timothy Altemus responded to my letter by telephone and informed me that his

client, Fay,3 would not agree to a request for a status conference with this Court. Then, despite

refusing to escrow the disputed funds, and despite refusing to agree to a conference with this Court,

and despite his counsel expressly discussing mediation of this dispute with me, on March 28, 2018,

Perles (acting pro se) filed a motion in the New York Turnover Proceeding that made it clear that

Glenn remained at risk—Perles moved to have the QSF Trustee immediately distribute all

attorneys’ fees due to Fay and to Perles, and to other counsel, except for disputed amounts which

he wants held in escrow, and he not only failed to identify Glenn’s fees as a “disputed amount,”

but failed even to identify Glenn as a damages attorney. Further, despite his counsel having

conveyed his agreement to mediate with Glenn, he refuses to include Glenn in the court-ordered

mediation he wants to have with the other damages attorneys. True and correct copies of Steven


2
    Peterson v. Islamic Republic of Iran, No. 10 Civ. 4518 (KBF) (S.D.N.Y.).
3
    See pg. 1, n.1, supra.


                                                 3
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Perles’ pro se memorandum of law in support of that motion, as well as his declaration in support

of same (with exhibits), both dated March 28, 2018 (ECF Nos. 911-1, 911-2 and 911-3) is annexed

hereto as Exhibit C.

     9.        Meanwhile, it turns out that Perles’s counsel has been telling counsel for the QSF

Trustee and the Southern District Special Master the precise opposite of what this Court and the

Court of Appeals were told when Fay & Perles sought to quash Glenn’s lien. At the same time

that Fay & Perles were successfully convincing this Court and the Court of Appeals that Glenn did

not have an attorney charging lien because his clients—the Peterson plaintiffs—had never

expressly agreed that Glenn would be paid out of any recovery, Perles was telling counsel for the

QSF Trustee (and the Special Master appointed by the District Court) that the real clients of a

“damages attorney” like Glenn were actually Fay & Perles themselves (and in Glenn’s case, those

“clients” indeed had expressly agreed that he would be paid out of the attorneys’ fees they

themselves collected, see Exhibit E-1 to Glenn’s accompanying declaration). See the May 1, 2017,

letter signed by both Douglas M. Bregman and Geoffrey T. Hervey, of Bregman, Berbert,

Schwartz & Gilday, LLC, to Shalom Jacob of Locke Lorde, counsel to the Trustee, a true copy of

which (without its exhibits) is annexed hereto as Exhibit D as filed in the Turnover Proceeding as

Exhibit 12 to the Report and Recommendation of the Special Master dated December 4, 2017

[ECF No. 869-12] at pp. 21-22 of 35. The assertion of Fay & Perles that they were a damages

attorney’s “real” clients was supported by an opinion from “an expert ethicist, Mr. Jack Marshall

of ProEthics, Ltd.,” but, curiously, both Mr. Marshall’s opinion (Exhibit 13 to the letter) and his

CV (Exhibit 12) were “redacted” and not included with the copy of the Special Master’s report

that was publicly filed [ECF 869-12].




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